Case 2:10-cv-14575-DPH-RSW ECF No. 32, PagelD.406 Filed 01/12/22 Page 1 of 2

™

 

Unitep States District Court
FOR THE EASTERN DISTRICT OF MICHIGAN

 

539 THEODORE LEVIN UNITED STATES COURTHOUSE

231 W. LAFAYETTE BOULEVARD DIVISIONAL OFFICES
KINIKIA D. ESSIX DETROIT, MICHIGAN 48226 ANN ARBOR
COURT ADMINISTRATOR www.mied.uscourts.gov BAY CITY
PHONE: 313-234-5051 FLINT
FAX: 313-234-5399 PORT HURON

January 12, 2022

Nancy Dillard
14655 Whitcomb
Detroit, Michigan 48227

In Re: Nancy Dillard v. Ford Motor Company, Case No. 10-cv-14575
Dear Ms. Dillard,

I have been contacted by Chief Judge Denise Page Hood who presided over the above
referenced case.

Chief Judge Hood informed me that it has been brought to her attention while she
presided over the above captioned case, she owned a small amount of stock in Ford Motor
Company. Her ownership of stock neither affected nor impacted her decisions in the case, but
her stock ownership would have required recusal under the Code of Conduct for United States
Judges, and thus, Chief Judge Hood directed that I notify the parties of the conflict.

Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
provides the following guidance for addressing disqualification that is not discovered until after
a judge has participated in a case:

[A] judge should disclose to the parties the facts bearing on disqualification as
soon as those facts are learned even though that may occur after entry of a
decision. The parties may then determine what relief they may seek and a court
(without the disqualified judge) will decide the legal consequence, if any, arising
from the participation of the disqualified judge in the entered decision.

Although Advisory Opinion 71 contemplates disqualification after a Court of Appeals
oral argument, the Committee explained “[s]imilar consideration would apply when a judgment
was entered in a district court by a judge and it is later learned that the judge was disqualified.”
Case 2:10-cv-14575-DPH-RSW ECF No. 32, PagelD.407 Filed 01/12/22 Page 2 of 2

Letter Re Case No. 10-cv-14575
January 12, 2022 Page 2

With Advisory Opinion 71 in mind, you are invited to respond to the Court’s disclosure
of a conflict in this case. Should you wish to respond, please submit your response on or before
February 4, 2022. Any response will be considered by another judge of this court without the
participation of Chief Judge Hood.

Sincerely,

bPe-t

Kinikia D. Essix
Court Administrator
